Case 1:03-cr-00232-MAC-KFG            Document 623       Filed 08/31/15     Page 1 of 2 PageID #:
                                             2681




  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §   CASE NO. 1:03-CR-232(11)
                                                  §
 JOHN DARRELL GORDON                              §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a

 hearing and submitted findings of fact and a recommendation on the defendant’s plea of true. The

 defendant consented to the revocation of his supervised release and waived his right to be present

 and allocute at sentencing. The parties have not objected to Judge Giblin’s report.

          The Court ORDERS that the findings of fact and recommendation on plea of true (#621)

 are ADOPTED. The Court finds that the defendant, John Darrell Gordon, violated conditions of

 his supervised release and ORDERS that his supervision is REVOKED. Pursuant to Judge

 Giblin’s recommendation and the parties’ agreement, the Court ORDERS the defendant to serve

 a term of four (4) months imprisonment.

          The Court further ORDERS the defendant to serve a new term of supervision for four (4)

 years and six (6) months after his release from prison. The Court ORDERS that the new term of

 supervision will be subject to the same mandatory, standard and special conditions of supervised

 release as imposed in the original judgment of conviction, as recommended by Judge Giblin.

          The Court finally orders that the new supervision term will also include the new special

 condition that the defendant serve 180 days community corrections time as part of his supervised
Case 1:03-cr-00232-MAC-KFG           Document 623        Filed 08/31/15      Page 2 of 2 PageID #:
                                            2682



 release. The
           . Court will set forth the detailed conditions of supervision in the revocation judgment.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 31st day of August, 2015.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE




                                                 2
